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                         UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA
                          CRIMINAL NO. 15-51(DSD/BRT)

United States of America,

                   Plaintiff,

v.                                                          ORDER


Eugene Ryan Boos,

                   Defendant.



      This matter is before the court upon the pro se motion by

defendant Eugene Ryan Boos, for compassionate release under 18

U.S.C. § 3582(c)(1)(A).         The government opposes the motion.           Based

on a review of the record, files, and proceedings here, and for

the following reasons, the motion is denied.

      In 2016, Boos pleaded guilty in federal court to possession

with intent to distribute fifty grams or more of methamphetamine

and   possessing    firearms     in   furtherance      of    a   drug-trafficking

crime.    The court sentenced him to 171 months’ imprisonment to run

concurrent to a state sentence for related conduct.                        Boos is

currently     in   the     custody    of    the     Minnesota       Department    of

Corrections.       When    he   completes    that    sentence,      Boos   will   be

transferred to Bureau of Prisons custody to serve the remainder of

his federal sentence.           After that, he will serve five years of

supervised release.
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     Boos now moves for compassionate release from his federal

term of imprisonment under 18 U.S.C. § 3582(c)(1)(A), based on his

serious medical conditions.           He effectively seeks to have his

federal   sentence    vacated   so    that   he   may    begin   his   term   of

supervised     release   when    he    completes        his   state    term   of

imprisonment.

     Before a defendant may seek such relief from a district court,

he must have “fully exhausted all administrative rights to appeal

a failure of the Bureau of Prisons to bring a motion on the

defendant’s behalf or [30 days must have elapsed] from the receipt

of such a request by the warden of the defendant’s facility.”                 Id.

§ 3582(c)(1)(A).      There is no dispute that Boos has not done so

here.   Further, relief under § 3582(c)(1)(A) is only available to

prisoners who are in federal custody.             Until Boos completes his

state term of imprisonment and begins serving time in a federal

facility, he may not seek relief under federal law.                    He may,

however, request similar relief from the Minnesota Department of

Corrections and Minnesota courts in the meantime.




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     Accordingly, based on the above, IT IS HEREBY ORDERED that:

     1.   The motion for compassionate release [ECF No. 43] is

denied without prejudice; and

     2.   The motion for the appointment of counsel [ECF No. 48]

is denied.


Dated: June 27, 2024

                                 s/David S. Doty
                                 David S. Doty, Judge
                                 United States District Court




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